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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

LARRY KLAYMAN, on behalf of himself
and all others similarly situated,
2020 Pennsylvania Ave. NW
Suite 800
Washington, DC 20006

and

CHARLES AND MARY ANN STRANGE, on behalf
of themselves and all others similarly situated,        Civil Action No. 13-CV-851
Philadelphia, Pennsylvania

                 Plaintiffs,
v.

BARACK HUSSEIN OBAMA II,
1600 Pennsylvania Ave. NW
Washington, DC 20500

and

ERIC HIMPTON HOLDER, JR.,                             THIRD AMENDED COMPLAINT
555 Fourth St. NW
Washington, DC 20530

and

KEITH B. ALEXANDER
Director of the National Security Agency,
9800 Savage Rd.
Fort Meade, MD 20755

and

ROGER VINSON,
Judge, U.S. Foreign Intelligence Surveillance Court
950 Pennsylvania Ave. NW
Washington, DC 20530


and




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NATIONAL SECURITY AGENCY,
9800 Savage Rd.
Fort Meade, MD 20755

and

THE U.S. DEPARTMENT OF JUSTICE,
950 Pennsylvania Ave. NW
Washington, DC 20530

                     Defendants.



         Plaintiff, Larry Klayman, a former U.S. Department of Justice prosecutor, and Plaintiffs

Charles and Mary Ann Strange (collectively “Plaintiffs”) hereby sue Barack Hussein Obama,

Eric Holder, Keith B. Alexander, Roger Vinson, the U.S. Department of Justice (“DOJ”), and the

National Security Agency (“NSA”), (collectively “Defendants”), in their personal and official

capacities, for violating Plaintiffs’ constitutional rights, Plaintiffs’ reasonable expectation of

privacy, free speech and association, right to be free of unreasonable searches and seizures, and

due process rights for directly and proximately causing Plaintiffs mental and physical pain and

suffering and harm as a result of the below pled illegal and criminal acts. Plaintiffs allege as

follows:

                                           INTRODUCTION
1. This is an action for violations of the First, Fourth, and Fifth Amendments to the U.S.

      Constitution. This is also an action for violations of privacy, freedom of expression and

      association, due process, and other illegal acts. Plaintiffs bring this action on behalf of

      themselves and all other similarly situated consumers, users, and U.S. citizens who are

      customers and users of Verizon Communications (hereinafter collectively “Verizon”) and

      any other Verizon affiliates or subsidiaries.




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2. This case challenges the legality of Defendants’ participation and conduct in a secret and

     illegal government scheme to intercept and analyze vast quantities of domestic telephonic

     communications. Specifically, on June 5, 2013, The Guardian posted a classified order from

     the secretive Foreign Intelligence Surveillance Court directing Verizon to turn over, “on an

     ongoing daily basis,” the following tangible things: “All call detail records or “telephony

     metadata” created by Verizon for communications (i) between the United States and abroad;

     or (ii) wholly within the United States, including local telephone calls.”

3. This would give the NSA over one hundred millions phone records on a daily basis. The

     information would also include a list of all the people that Verizon customers call and who

     called them; how long they spoke; and perhaps, where they were on a given day. Further,

     there is nothing in the order requiring the government to destroy the records after a certain

     amount of time nor are there any provisions limiting who can see and hear the data.

4.   The order, issued and signed by Judge Roger Vinson, violates the U.S. Constitution and also

     federal laws, including, but not limited to, the outrageous breach of privacy, freedom of

     speech, freedom of association, and the due process rights of American citizens.

5. This surveillance program was authorized and ordered by the President and undertaken by

     the NSA and the other Defendants, intercepting and analyzing the communications of

     hundreds of millions of Americans. Prior to this disclosure and revelation, Plaintiffs had no

     reasonable opportunity to discover the existence of the surveillance program or the violation

     of the laws alleged herein.

6. Verizon maintains domestic and international telecommunications facilities over which

     hundreds of millions of Americans’ telephone communications pass every day. They also




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   manage some of the largest databases in the world containing records of most or all

   communications made through their myriad telecommunications services and operations.

7. Verizon has opened its key telecommunication databases to direct access by the NSA and/or

   other government agencies, intercepting and disclosing to the government the contents of its

   customers as well as detailed communication which include but are not limited to telephonic

   and internet metadata records with regard to over one hundred million of its customers,

   including Plaintiffs. Verizon continues to assist the government in its secret surveillance of

   over one hundred million of ordinary Americans citizens just on a daily basis, both

   domestically and with regard to overseas calls and internet communications of the Plaintiffs

   and others; such as email and text messages.

8. Plaintiffs are suing for declaratory relief, damages, and injunctive relief to stop this illegal

   conduct and hold Defendants, individually and collectively, responsible for their illegal

   collaboration in the surveillance program, which has violated the law and damaged the

   fundamental freedoms of American citizens.

                                          THE PARTIES
9. Plaintiff Larry Klayman is an individual and an attorney who is a subscriber and user of

   Verizon at all material times. In fact, on information and belief, Plaintiff Larry Klayman has

   been a subscriber and user of Verizon for many years. Plaintiff Larry Klayman resided in the

   District of Columbia (“D.C”) for over twenty years and continues to conduct business in

   Washington, D.C. as the Chairman and General Counsel of Freedom Watch and otherwise.

   Plaintiff Larry Klayman is a public advocate and has filed lawsuits against President Obama

   and has been highly critical of the Obama administration as a whole. On information and

   belief, Defendants have accessed telephonic and internet records, both domestic and

   international communications pertaining to Plaintiff Larry Klayman pursuant to the Order


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   issued by Defendant Vinson in addition to accessing his telephone and internet

   conversations.

10. Plaintiff Klayman also routinely sends and receives e-mails, texts and telephone

   communications to and from Israel, Italy, France, Great Britain, Germany, Belgium and other

   nations which have very large Muslim populations and where terrorist cells are bred and

   located and thus where terrorist attacks have been perpetrated resulting in numerous deaths

   and maimed persons.

11. In light of Plaintiff Klayman's foreign contacts and communications, including frequent

   telephone calls, texts and e-mail correspondence and communications, both domestic and

   overseas, the Defendants would have inevitably been monitoring Plaintiff Klayman in the

   ordinary course of their surveillance. In fact, given Plaintiff Klayman's contacts in the

   regions he has traveled to, Plaintiff Klayman was undoubtedly targeted by the Defendants

   and his domestic and foreign communications gathered and under surveillance.

12. Plaintiffs Charles and Mary Ann Strange are the parents of Michael Strange, a member of

   Navy SEAL Team VI who was killed when the helicopter he was in was attacked and shot

   down by terrorist Taliban jihadists in Afghanistan on August 6, 2011. Both Charles Strange

   and Mary Ann Strange at all material times were and remain subscribers and users of

   Verizon. Defendants have accessed Plaintiffs Charles and Mary Ann Strange’s phone and

   internet metadata and content records particularly since these Plaintiffs have been vocal

   about their criticism of President Obama as commander-in-chief, his administration, and the

   U.S. military regarding the circumstances surrounding the shoot down of their son’s

   helicopter in Afghanistan, which resulted in the death of their son and other Navy Seal Team

   VI members and special operation forces. Plaintiffs Charles and Mary Ann Strange have




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   substantial connections with Washington, D.C., as they hold press conferences in

   Washington, D.C. and lobby in Washington, D.C. as an advocate for their son and to obtain

   justice for him, as well as to change the policies and orders of President Obama and the U.S.

   military’s acts and practices, which contributed to their son’s death. Plaintiffs Charles and

   Mary Ann Strange also make telephone calls, send and receive texts and e-mails to and from

   foreign countries. Specifically, they have received threatening e-mails and texts from

   overseas, in particular Afghanistan.

13. Defendant Barack Hussein Obama ("Obama") is the President of the United States and

   currently resides in Washington, D.C.

14. Defendant Eric Holder ("Holder") is the Attorney General of the United States and conducts

   his duties as the Attorney General in Washington, D.C.

15. The National Security Agency ("NSA") is an intelligence agency of the U.S. Department of

   Defense and conduct its duties in Washington, D.C.

16. Defendant Keith B. Alexander ("Alexander") is the Director of the National Security

   Agency. He is also the commander of the U.S. Cyber Command, where he is responsible for

   planning, coordinating, and conducting operations of computer networks. He is also at the

   command for U.S. National Security Information system protection responsibilities. He

   conducts his duties for the National Security Agency in Washington, D.C.

17. The U.S. Department of Justice ("DOJ") is a U.S. federal executive department responsible

   for the enforcement of the law and administration of justice, and its headquarters is located in

   Washington, D.C., where it conducts most of its activities and business.

18. Defendant Roger Vinson ("Vinson") is a judge to the U.S. Foreign Intelligence Surveillance

   Court.




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19. All of these Defendants, each and every one of them, jointly and severally, acted in concert

   to violate the constitutional privacy rights, free speech, freedom of association, due process

   and other legal rights of Plaintiffs.

                                 JURISDICTION AND VENUE
20. This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §1331

   (Federal Question Jurisdiction).

21. Jurisdiction and venue are proper pursuant to 28 U.S.C. §1331, which states in pertinent part,

   “[t]he district courts shall have original jurisdiction of all civil actions arising under the

   Constitution, laws, or treaties of the United States.” At issue here is the unconstitutional

   violation of Plaintiffs' rights under the First, Fourth, and Fifth Amendments to the U.S.

   Constitution.

22. Supplemental jurisdiction is also proper under 28 U.S.C. §1367, which states in pertinent

   part, " . . .in any civil action of which the district courts have original jurisdiction, the district

   courts shall have supplemental jurisdiction over all other claims that are so related to claims

   in the action within such original jurisdiction that they form part of the same case or

   controversy under Article III of the U.S. Constitution.

23. Plaintiffs are informed, believes and thereon alleges that, based on the places of business of

   the Defendants and/or on the national reach of Defendants, a substantial part of the events

   giving rise to the claims herein alleged occurred in this district and that Defendants and/or

   agents of Defendants may be found in this district.

                                             STANDING

24. Plaintiffs bring this action because they have been directly affected, victimized and severely

   damaged by the unlawful conduct complained herein. Their injuries are proximately related




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   to the egregious, illegal and criminal acts of Defendants Obama, Holder, Alexander, Vinson,

   the DOJ, and the NSA, each and every one of them, jointly and severely.

                                  STATEMENT OF FACTS

25. The NSA began a classified surveillance program to intercept the telephone communications

   of persons inside the United States, a program that continues to this date. The U.S.

   government, on the orders authorization of the President, the Attorney General, the DOJ and

   the NSA, has obtained a top secret court order that directs Verizon to turn over the telephone

   records of over one hundred million Americans to the NSA on an ongoing daily basis.

26. On April 25, 2013, Defendant Judge Roger Vinson, acting in his official and personal

   capacities and under the authority of Defendant Obama, his Attorney General and the DOJ,

   ordered that the Custodian of Records shall produce the production of tangible things from

   Verizon Business Network Services, Inc. on behalf of MCI Communication Services Inc,

   individually and collectively, to the NSA and continue production on an ongoing daily basis

   thereafter.

27. Defendant Vinson ordered access to electronic copies of the following tangible things: all

   call detail records or "telephony metadata" created by Verizon for communications (i)

   between the United States and abroad; or (ii) wholly within the United States, including local

   telephone calls. Telephony metadata includes comprehensive communications routing

   information, including but not limited to session identifying information (e.g. originating and

   terminating telephone number, International Mobile Subscriber Identity (IMSI) number,

   International Mobile station Equipment Identity (IMEI) number, etc.) trunk identifier,

   telephone calling card numbers, and time and duration of call.




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28. Defendant Vinson’s Order requires Verizon to turn over originating and terminating

   telephone numbers as well as the location, time, and duration of the calls. In essence, the

   Order gives the NSA blanket access to the records of over a hundred million of Verizon

   customers’ domestic and foreign phone calls made between April 25, 2013, when the Order

   was signed, and July 19, 2013, when the Order is supposed to, on its face, expire.

29. Defendant Vinson, in an attempt to keep his illegal acts and those of other Defendants as a

   secret, further ordered that no person shall disclose to any other person that the FBI or NSA

   has sought or obtained tangible things under his order.

30. Based on knowledge and belief, this Order issued by Defendant Vinson is the broadest

   surveillance order to ever have been issued; it requires no level of reasonable suspicion or

   probable cause and incredibly applies to all Verizon subscribers and users anywhere in the

   United States and overseas.

31. Defendant Vinson's Order shows for the first time that, under Defendant Obama's

   administration, the communication records of over one hundred million of U.S. citizens are

   being collected indiscriminately and in bulk - regardless of whether there is reasonable

   suspicion or any “probable cause” of any wrongdoing.

32. On June 5, 2013, The Guardian published an article entitled, "NSA collecting phone records

   of millions of Verizon customers daily. Exclusive: Top secret court order requiring Verizon

   to hand over all call data shows scale of domestic surveillance under Obama."

33. Since June 5, 2013, Defendants Obama, Holder, Alexander, Vinson, the DOJ, and the NSA

   have been widely condemned among American citizens regarding their failure to uphold the

   U.S. Constitution and intentionally violating the fundamental rights of Plaintiffs and over one

   hundred million of other Americans.




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34. As just one example, Senator Rand Paul called the surveillance of Verizon phone records "an

   astounding assault on the constitution," and has called for a class action lawsuit.

35. In fact, the news of Judge Vinson’s Order comes as the Obama administration is under fire

   following revelations that the DOJ has seized two months of telephone records of a number

   of Associated Press’ reporters and editors, claiming that the requests were part of an

   investigation into the leak of classified information, as well as the telephone records and

   emails of reporters and management of Fox News. This is thus a pattern of egregious

   ongoing illegal, criminal activity.

36. Such schemes by the Defendants in concert with the government have subjected untold

   number of innocent people to the constant surveillance of government agents. As Jameel

   Jaffeer, the ACLU’s deputy legal director, stated, “It is beyond Orwellian, and it provides

   further evidence of the extent to which basic democratic rights are being surrendered in

   secret to the demands of unaccountable intelligence agencies.”

37. To date, Defendants have not issued substantive and meaningful explanations to the

   American people describing what has occurred. To the contrary, criminal charges are

   reportedly being pursued by Defendants Obama, Holder, the DOJ, and the NSA against the

   leakers of this plot against American citizens in a further effort suppress, obstruct justice, and

   to keep Defendants’ illegal actions as secret as possible.

                              FIRST CLAIM FOR RELIEF
    (Fifth Amendment Violation – Defendants Obama, Holder, Alexander, and Vinson)
           (Bivens v. VI Unknown Named Agents of Federal Bureau of Narcotics)

38. Plaintiffs repeat and reallege all of the previous allegations in paragraphs 1 through 37 of this

   Third Amended Complaint with the same force and affect, as if fully set forth herein again at

   length.



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39. Plaintiffs enjoy a liberty interest in their personal security and in being free from the

   Defendants’ and the government's use of unnecessary and excessive force or intrusion

   against his person.

40. Plaintiffs enjoy a liberty of not being deprived of life without due process of law, as

   guaranteed by the Fifth Amendment to the U.S. Constitution.

41. Defendants Obama, Holder, Alexander, the DOJ, and the NSA violated Plaintiffs'

   constitutional rights when they caused Defendant Vinson's order to be illegally granted,

   thereby giving the government and themselves unlimited authority to obtain telephone data

   for a specified amount of time.

42. By reason of the wrongful conduct of the Defendants, each and every one of them, jointly

   and severally, Plaintiffs suffered and continue to suffer from severe emotional distress and

   physical harm, pecuniary and economic damage, loss of services, and loss of society

   accordingly.

43. These violations are compensable under Bivens v. VI Unknown Named Agents of Federal

   Bureau of Narcotics, 403 U.S. 388 (1971). As a direct and proximate result of the intentional

   and willful actions of Defendants Obama, Holder, and Alexander, and Vinson, Plaintiffs

   demand judgment be entered against Defendants Obama, Holder, and Alexander, and

   Vinson, each and every one of them, jointly and severally, including an award of

   compensatory and actual damages, punitive damages, equitable relief, reasonable attorneys

   fees, pre-judgment interest, post-interest and costs, and an award in an amount in excess of

   $3 billion U.S. dollars, and such other relief as the Court may deem just and proper. Plaintiffs

   demand declaratory and injunctive and other equitable relief against all of Defendants as set

   forth below.




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                             SECOND CLAIM FOR RELIEF
    (First Amendment Violation - Defendants Obama, Holder, Alexander, and Vinson)
           (Bivens v. VI Unknown Named Agents of Federal Bureau of Narcotics)

44. Plaintiffs repeat and reallege all of the previous allegations in paragraphs 1 through 43 of this

   Third Amended Complaint with the same force and affect, as if fully set forth herein again at

   length.

45. Defendants Obama, Holder, Alexander, and Vinson, acting in their official capacity and

   personally, abridged and violated Plaintiffs’ First Amendment right of freedom of speech and

   association by significantly minimizing and chilling Plaintiffs’ freedom of expression and

   association.

46. Defendants Obama, Holder, Alexander, and Vinson's acts chill, if not “kill,” speech by

   instilling in Plaintiffs, and over a hundred million of Americans, the fear that their personal

   and business conversations with other U.S. citizens and foreigners are in effect tapped and

   illegally surveyed.

47. In addition, Defendants Obama, Holder, Alexander, and Vinson, acting in their official

   capacity and personally, violated Plaintiffs’ right of freedom of association by making them

   and others weary and fearful of contacting other persons and entities via cell phone out of

   fear of the misuse of government power and retaliation against these persons and entities who

   challenge the misuse of government power.

48. By reason of the wrongful conduct of these Defendants, Plaintiffs suffered and continue to

   suffer from severe emotional distress and physical harm, pecuniary and economic damage,

   loss of services, and loss of society accordingly.

49. These violations are compensable under Bivens v. VI Unknown Named Agents of Federal

   Bureau of Narcotics, 403 U.S. 388 (1971).



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50. As a direct and proximate result of the intentional and willful actions of Defendants Obama,

   Holder, and Alexander, and Vinson, demand that judgment be entered against Defendants

   Obama, Holder, and Alexander, and Vinson, each and every one of them, jointly and

   severally, including an award of compensatory and actual damages, punitive damages,

   equitable relief, reasonable attorneys fees, pre-judgment interest, post-interest and costs, and

   an award in an amount in excess of $3 billion U.S. dollars and such other relief as the Court

   may deem just and proper.

                             THIRD CLAIM FOR RELIEF
   (Fourth Amendment Violation - Defendants Obama, Holder, Alexander, and Vinson)
          (Bivens v. VI Unknown Named Agents of Federal Bureau of Narcotics)

51. Plaintiffs repeat and reallege all of the previous allegations in paragraphs 1 through 50 of this

   Second Amended Complaint with the same force and affect, as if fully set forth herein again

   at length.

52. The Fourth Amendment provides in pertinent part that people have a right to be secure in

   their persons against unreasonable searches and seizures, that warrants shall not be issued but

   upon probable cause, and that the place of search must be described with particularity.

53. Defendants Obama, Holder, Alexander, and Vinson, acting in their official capacities and

   personally, violated the Fourth Amendment to the U.S. Constitution when they unreasonably

   searched and seized and continue to search Plaintiffs’ phone records and millions of innocent

   U.S. citizens' records without reasonable suspicion or probable cause.

54. Defendants Obama, Holder, and Alexander, and Vinson, acting in their official capacity and

   personally, violated the Fourth Amendment to the U.S. Constitution by not describing with

   particularity the place to be searched or the person or things to be seized.




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55. In fact, the blanket and vastly overbroad order issued by Defendant Vinson, acting on behalf

   of the federal government and therefore Defendant Obama as he is the chief executive of the

   federal government, as well as the other Defendants, does not state with any particularity

   who and what may be searched.

56. The collection and production of the phone records allows Defendant NSA to build easily

   and indiscriminately a comprehensive picture and profile of any individual contacted, how

   and when, and possibly from where, retrospectively and into the future.

57. By reason of the wrongful conduct of Defendants Obama, Holder, Alexander, and Vinson,

   Plaintiffs suffered and continue to suffer from severe emotional distress and physical harm,

   pecuniary and economic damage, loss of services, and loss of society accordingly.

58. These violations are compensable under Bivens v. VI Unknown Named Agents of Federal

   Bureau of Narcotics, 403 U.S. 388 (1971). As a direct and proximate result of the intentional

   and willful actions of Defendants Obama, Holder, and Alexander, and Vinson, Plaintiffs

   demand judgment be entered against Defendants Obama, Holder, and Alexander, and

   Vinson, each and every one of them, jointly and severally, including an award of

   compensatory and actual damages, punitive damages, equitable relief, reasonable attorneys

   fees, pre-judgment interest, post-interest and costs, and an award in an amount in excess of

   $3 billion U.S. dollars and such other relief as the Court may deem just and proper.

                                   PRAYER FOR RELIEF

59. Plaintiffs demand that judgment be entered against Defendants, each and every one of them,

   jointly and severally, for compensatory and actual damages because of Defendants’ illegal

   actions causing this demonstrable injury to Plaintiffs, punitive damages because of

   Defendants’ callous, reckless indifference and malicious acts, and attorneys fees and costs in




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   an amount in excess of $3 billion U.S. dollars and such other relief the Court may deem just

   and proper.

60. Plaintiffs demand declaratory, equitable and injunctive relief for their injuries in the

   following ways: (1) a cease and desist order to prohibit this type of illegal and criminal

   activity against Plaintiffs and other U.S. citizens from occurring now and in the future; (2)

   that all Plaintiffs’ phone, texts, e-mail, internet, and social media records and communication

   records, whether telephonic or electronic, be returned to the provider and expunged from

   federal government records; and (3) a full disclosure and a complete accounting of what each

   Defendant as a whole has done and allowed the DOJ and NSA to do; and (4) that this Court

   retain jurisdiction to implement an effective judicial monitoring mechanism to insure that the

   Defendants do not egregiously continue, after they are enjoined, to violate the constitutional

   rights of the Plaintiffs and all Americans in the future, particularly since the Foreign

   Surveillance Intelligence Court, through judges such as Defendant Vinson, has colluded or

   acquiesced with Defendants in their unlawful conduct. Defendants cannot, given their

   documented pattern of lying under oath, deceit and unlawful unconstitutional conduct, be left

   on their own, without court supervision, to obey the law.

                                         JURY DEMAND

Plaintiffs respectfully demands a jury trial on all issues so triable.

Dated: February 10, 2014

                                               Respectfully submitted,


                                               /s/ Larry Klayman
                                               Larry Klayman, Esq.
                                               General Counsel
                                               Freedom Watch, Inc.
                                               D.C. Bar No. 334581



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                            Attorney for Himself, Pro Se, and the Plaintiffs




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                               CERTIFICATE OF SERVICE


I HEREBY CERTIFY that on this 10th day of February, 2014, a true and correct copy of the
foregoing Third Amended Complaint (Civil Action No. 13-cv-851) was submitted electronically
to the District Court for the District of Columbia and served via CM/ECF upon the following:



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Attorneys for Defendants.


                                          Respectfully submitted,

                                           /s/ Larry Klayman
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